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 6   United States of America
 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   1:11-CR-00299-AWI
                                           )
12                    Plaintiff,           )   PRELIMINARY ORDER OF FORFEITURE
                                           )
13        v.                               )
                                           )
14   MARIANO VEGA HERNANDEZ,               )
                                           )
15                    Defendant.           )
                                           )
16
17        Based upon the plea agreement entered into between plaintiff
18   United States of America and defendant Antonio Sanchez Hernandez, it
19   is hereby ORDERED, ADJUDGED, AND DECREED as follows:
20        1.   Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
21   2461(c), defendant Mariano Vega Hernandez’ interest in the following
22   property shall be condemned and forfeited to the United States of
23   America, to be disposed of according to law:
24             1.    Approximately 19,400 CD and DVD graphic
                     inserts,
25             2.    Approximately 1,850 Blank CDs,
               3.    Approximately 33,100 Blank DVDs,
26             4.    Approximately 15,798 CD and DVD cases,
               5.    Approximately 3,798 disc sleeves,
27             6.    Seal bags and wrappers,
               7.    The following items seized from 1608 Boise
28



                                                          Preliminary Order of
                                           1              Forfeiture
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 1              Avenue, Modesto, California on July 25,
                2011:
 2              a.    Approximately 6,825 DVDs and 268 CDs
                b.    9 CD and DVD disc burning towers,
 3              c.    50 computer printers
                d.    2 copy machines,
 4              e.    2 computer scanners, and
                f.    3 computers,
 5        8.    Approximately 30,560 DVDs and 68,785 CDs
                seized from 521 Winmoore Way, Modesto,
 6              California on July 25, 2011,
          9.    45,083 CDs seized from the possession of
 7              VINCENTA MUNOZ-PERALTA, MARIANO VEGA
                HERNANDEZ, MARTIN MUNOZ PERALTA, ROMAN
 8              SANTANA, and ANTONIO HERNANDEZ SANCHEZ, at
                Modesto 7th Street Flea Market, 1107 South
 9              7th Street, Modesto, California on July 25,
                2011,
10        10.   2006 Chevrolet Van, VIN# 1GCGG92U061129158,
                License Plate Number 6JEH084
11        11.   745 DVDs and 136 CDs seized from the van of
                MARTIN MUNOZ PERALTA, License Plate Number
12              6JEH084, on July 25, 2011,
          12.   2005 Chevrolet G2500 Cargo Van, VIN#
13              1GCGG29V251246862, License Plate Number
                8Y55066,
14        13.   Approximately 15 DVDs and 73 CDs seized from
                the van of LEONEL MARTINEZ CABALLERO, 2005
15              Chevrolet G2500 Cargo Van, VIN#
                1GCGG29V251246862, License Plate Number
16              8Y55066,
          14.   6 DVDs and 106 CDs seized from a Cadillac
17              Escalade under the control of MARIANO VEGA
                HERNANDEZ, License Plate Number NV 532WGK,
18        15.   3 DVDs and 2 CDs seized from a Jeep vehicle
                under the control of MARIANO VEGA HERNANDEZ,
19              License Plate Number 4SXR218,
          16.   780 DVDs and 2,380 CDs seized from 2342
20              Poland Road, Modesto, California, and the
                vehicles of EDGAR BAUTISTA ARAZATE on July
21              25, 2011,
          17.   Approximately $13,193.00 in U.S. Currency,
22              seized from LEONEL MARTINEZ CABALLERO, on
                July 25, 2011,
23        18.   2007 Toyota Camry, VIN# 4T1BE46K27U010313,
                License Plate Number 5UED102, and
24        19.   The following items seized from the van of
                LEONEL MARTINEZ CABALLERO, Chevrolet 3500
25              Cargo Van, VIN# 1GCHG39U531120297, License
                Plate Number 8W16802:
26              a.    1 “Continuous Ink System” printer
                      module,
27              b.    1 Konica BizHub copy machine,
                c.    4 cases of copy machine paper, and
28              d.    2 CD and DVD disc burning towers.



                                                     Preliminary Order of
                                      2              Forfeiture
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 1        2.    The above-listed assets represent any property real or
 2   personal, that constitutes, or is derived from or is traceable to the
 3   proceeds obtained directly or indirectly as a result of           the
 4   commission of a violation of 18 U.S.C. § 371.
 5        3.    Pursuant to Rule 32.2(b), the Attorney General (or a
 6   designee) shall be authorized to seize the above-listed property.
 7   The aforementioned property shall be seized and held by the United
 8   States Marshals Service in their secure custody and control.
 9        4.   a.    Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C.
10   § 853(n), and Local Rule 171, the United States shall publish notice
11   of the order of forfeiture.     Notice of this Order and notice of the
12   Attorney General’s (or a designee’s) intent to dispose of the
13   property in such manner as the Attorney General may direct shall be
14   posted for at least 30 consecutive days on the official internet
15   government forfeiture site www.forfeiture.gov.         The United States may
16   also, to the extent practicable, provide direct written notice to any
17   person known to have alleged an interest in the property that is the
18   subject of the order of forfeiture as a substitute for published
19   notice as to those persons so notified.
20              b.     This notice shall state that any person, other than
21   the defendant, asserting a legal interest in the above-listed
22   property, must file a petition with the Court within sixty (60) days
23   from the first day of publication of the Notice of Forfeiture posted
24   on the official government forfeiture site, or within thirty (30)
25   days from receipt of direct written notice, whichever is earlier.
26        5.    If a petition is timely filed, upon adjudication of all
27   third-party interests, if any, this Court will enter a Final Order of
28   Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §



                                                          Preliminary Order of
                                           3              Forfeiture
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 1   2461(c), in which all interests will be addressed.
 2
 3   IT IS SO ORDERED.
 4
     Dated:      October 12, 2012
 5   0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE
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                                                          Preliminary Order of
                                           4              Forfeiture
